           Case 2:10-cr-00477-MCE Document 284 Filed 10/12/16 Page 1 of 2
                            UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF CALIFORNIA


                                      MEMORANDUM



Honorable Morrison C. England Jr.                RE: Jeremy Ryan Terrell
United States District Judge                         Docket Number: 0972 2:10CR00477-004
Sacramento, California                               PERMISSION TO TRAVEL
                                                     OUTSIDE THE COUNTRY

Your Honor:


Jeremy Ryan Terrell is requesting permission to travel to Cabo San Lucas. Jeremy Ryan Terrell
is current with all supervision obligations, and the probation officer recommends approval be
granted.


Conviction and Sentencing Date:            On November 27, 2012, Jeremy Ryan Terrell                    was
sentenced for the offense(s) of 21 USC 841(a)(1) – Manufacturing of and Possession with Intent
to Distribute Marijuana.


Sentence Imposed: 36 months BOP; 60 months TSR; $100 special assessment; mandatory
testing; No firearms.      Special conditions:   1) Submit to search; 2) Outpatient correctional
treatment program; 3) Substance abuse testing; 4) Outpatient mental health treatment; 5)
Aftercare co-payment; 6) Drug offender registration; 7) Financial disclosure; 8) Abstain from
alcohol.


Dates and Mode of Travel: October 15 – 19, 2016; Flying.


Purpose: Vacation with his girlfriend.




                                                  1
                                                                                                  REV. 06/2015
                                                                   TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
         Case 2:10-cr-00477-MCE Document 284 Filed 10/12/16 Page 2 of 2

RE:      Jeremy Ryan Terrell
         Docket Number: 0972 2:10CR00477-004
         PERMISSION TO TRAVEL OUTSIDE THE COUNTRY


                                    Respectfully submitted,


                                     /s/George A. Vidales
                                   GEORGE A. VIDALES
                          Supervising United States Probation Officer


Dated:October 6, 2016
      Sacramento, California
      cp
                        /s/Matthew F. Faubert
 REVIEWED BY:         MATTHEW F. FAUBERT
                      Deputy Chief United States Probation Officer




                                ORDER OF THE COURT

          ☒    Approved         ☐      Disapproved


Dated: October 12, 2016




                                              2
                                                                                               REV. 06/2015
                                                                TRAVEL ~ OUTSIDE COUNTRY_ COURT MEMO.DOTX
